 Case 18-23248            Doc 26       Filed 03/04/19 Entered 03/04/19 13:46:32                         Desc Main
                                          Document Page 1 of 1
UNITED STATES BANKRUPTCY COURT, NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

RE: HILTON THOMPSON                                      ) Case No. 18 B 23248
                                                         )
                                                  Debtor ) Chapter 13
                                                         )
                                                         ) Judge: JACK B SCHMETTERER


                                              NOTICE OF MOTION


   HILTON THOMPSON                                                     CUTLER & ASSOC
                                                                       via Clerk's ECF noticing procedures
   340 EAST 38TH ST
   CHICAGO, IL 60653

   Please take notice that on April 03, 2019 at 10:00 am my designee or I will appear before the Honorable
   Judge JACK B SCHMETTERER at 219 South Dearborn Courtroom 682, Chicago, IL and present the
   motion set forth below.

   I certify under penalty of perjury that this office caused a copy of this notice to be delivered to the persons
   named above by U.S. mail at 55 E Monroe St., Chicago, IL 60603 or by the methods indicated on March
   04, 2019.

                                                                             /s/ Tom Vaughn


                         TRUSTEE'S MOTION TO DISMISS FOR TERM OF PLAN


   Now comes Tom Vaughn, Trustee in the above entitled case and moves the Court to dismiss this case in
   support thereof states:

   1. On August 17, 2018 the Debtor filed a petition and plan under Chapter 13 of Title 11 U.S.C.

   2. The debtor's plan was confirmed on October 17 , 2018, for a period of 60 months.

   3. The plan will complete in 65 months, from the date of confirmation .


   WHEREFORE, the Trustee prays that this case be dismissed for material default by the debtor with respect
   to a term of a confirmed plan, pursuant to § 1322 (d) and § 1307 (c) (6).

                                                                             Respectfully submitted,

   TOM VAUGHN                                                                /s/ Tom Vaughn
   CHAPTER 13 TRUSTEE
   55 E. Monroe Street, Suite 3850
   Chicago, IL 60603
   (312) 294-5900
